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AO 106 (Rev. 04/10) Application for a Search Warrant AUTHORIZED AND APPROVED/DATE: s/Nick Coffey 5/30/24
a
UNITED STATES DISTRICT COURT o31/,
for the wo
Western District of Oklahoma
In the Matter of the Search of )
(Briefly describe the property to be searched
or identify the person by name and address) } Case No. M-24- 75 -AMG
Premises known as 1900 NW 11th St, Oklahoma City, )
Oklahoma 73106, the surrounding curtilage, and }

any vehicles, garages, and outbuildings therean
APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.

located in the Western ' District of Oklahoma , there is now concealed (identify the

person or describe the property to be seized):
See Attachment B.

The basis for the search under Fed. R. Crim. P. 41{c) is (check one or more):
@f evidence of a crime;
ow contraband, fruits of crime, or other items illegally possessed;
we property designed for use, intended for use, or used in committing a crime;
G a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 1966(h) Money Laundering Conspiracy

The application is based on these facts:

f Continued on the attached sheet.

© Delayed notice of days (give exact ending date ifmore than 30days:
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

MLL -~_

ue Applicant's signature

) is requested

Michael Adams, Special Agent, FBI
Printed name and title

Sworn to before me and signed in my presence.

Date: ofl [3 Ze 4 eed Might d Dace,

Judge fag

City and state: Oklahoma City, Oklahoma Amanda Maxfield Green, U.S. Magistrate Judge
Printed name and title

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WESTERN DISTRICT OF OKLAHOMA
OKLAHOMA CITY, OKLAHOMA
STATE OF OKLAHOMA )
COUNTY OF OKLAHOMA
AFFIDAVIT

I, Michael Adams, Special Agent with the Federal Bureau of Investigation (FBD,
having been duly swom, depose and state as follows:

1. I have been a Special Agent with the FBI since March 2015. I am currently
assigned to the Oklahoma City Division, where I am assigned to the Criminal Enterprise Squad,
which is responsible for investigating, among other things, the unlawful distribution of narcotics
in violation of 21 U.S.C. §§ 841(a)(1) and 846, as well as the laundering of drug proceeds in
violation of 18 U.S.C. § 1956(h). Through my training and experience, I have become familiar
with the methods and operation of drug distributors, including their common organizational
structures, use of violence, methods of manufacturing, distributing, storing, and transporting
drugs, and methods of collecting and laundering drug proceeds. As part of my investigative
experience as an FBI Special Agent, I have been the affiant in multiple Title III wire intercept
affidavits, executed search and arrest warrants, conducted physical surveillance, coordinated
controlled purchases with confidential sources, analyzed records documenting the purchase and
sale of illegal drugs, and spoken with informants and subjects, as well as other local and federal
law enforcement officers, regarding the manner in which drug distributors obtain, finance, store,
manufacture, transport, and distribute their illegal drugs.

2. The facts set forth below are based upon my own personal observations, reports

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and information provided to me, and other documents obtained during the course of this
investigation. All of the below-described dates and times are approximate.

3. The information contained in this Affidavit is submitted for the limited purpose
of establishing probable cause to secure a search warrant for 1900 NW 11 St., Oklahoma City,
Oklahoma 73106 (the Subject Property), as described further in Attachment A (physical
description) for evidence of violations of 18 U.S.C. § 1956(h) (money laundering conspiracy),
as described further in Attachment B (description of items to be seized). The Subject Property
is the residence of Juan Hemandez Flores (JUAN), who was recently indicted on federal money
laundering charges for his role in his brother Oscar Hernandez Flores’s (Oscar) drug trafficking
organization. Oscar, twice indicted in the Western District of Oklahoma, remains a fagitive in
Mexico. Since this Affidavit is being submitted for the limited purpose of securing a search
warrant, I have not included each and every fact known to me conceming this investigation. I
have set forth only the facts that I believe are necessary to establish probable cause for the
requested warrant.

BACKGROUND REGARDING DRUG AND
MONEY LAUNDERING CASES

4, As discussed previously, based.on my training, experience, and consultation with
other seasoned investigators, I am familiar with the modus operandi of drug traffickers and
money launderers. Based on my training and experience, as well as my participation in
numerous money laundering investigations, I know the following:

a) I am aware that money launderers frequently keep assets, records, and

documents related to their criminal activity, and monies derived from the sale of drugs,

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in their own residences, businesses, as well as in safe houses where they are not easily
detectable by law enforcement officials conducting investigations;

b) I am aware that money launderers maintain books, records, receipts, notes,
ledgers, money orders, and other papers relating to the collection and transfer of monies
derived from the sale of drugs, even though such documents may be in code.

c) I am aware that the aforementioned books, records, receipts, notes, ledgers, etc.,
are commonly maintained where individuals have ready access to them, i.e., homes,
automobiles, businesses and safe houses;

d) I am aware that money launderers will frequently keep records, notes, ledgers,
contact lists, and other evidence of their criminal activity on digital devices (ie.,
cellphones, computers, tablets, etc.) and that they often keep such digital devices,
particularly cellphones, on their person or on the premises that they control. Further, I
am aware that they will often have multiple digital devices and will frequently use more
~ than one digital device to help conduct their criminal activity. Iam also aware that they
will use these digital devices to further their criminal activity through the use of digital
communication, including, but not limited to, e-mail, calls, and instant messaging.
Further, I am aware that money launderers will attempt to conceal the information on
their digital devices that is relevant to their criminal activities through the use of
encrypted applications (i.c., WhatsApp, Signal, Silent Phone) and security locks on their
devices;

e) I am aware that it is common for money launderers to conceal proceeds of drug

sales, and records of drug transactions, drug sources and drug customers, in secure

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locations within residences, garages, storage building, safes, and safety deposit boxes
for ready access, and also to conceal such items from law enforcement agencies;
f) I am aware that when drug dealers acquire large sums of proceeds from the sale
of drugs, they attempt to legitimize their profits;
g) am aware that to accomplish these goals, money launderers utilize, among other
things, banks and their attendant services, securities, wire transfers, money remitter
services, mobile payment services, cashier checks, money drafts, real estate companies,
shell corporations, and business fronts;
h) T am aware that money launderers commonly maintain addresses or telephone
numbers in books or papers which reflect names, addresses, and/or telephone numbers
for their associates in the drug trafficking organization for which they are employed,
even if said items may be in code;
i) I am aware that drug dealers and money launderers commonly take photographs
(or cause photographs to be taken) of themselves, their associates, their property and
their products or currency, and that these dealers usually maintain these photographs in
their possession and at their residence; and
jp I am aware that firearms are commonly used by drug trafficking organizations to
protect their inventory and currency.
PROBABLE CAUSE
5. Law enforcement first became aware of Oscar Hernandez Flores (Oscar) and the
drug trafficking organization (the “DTO”) described herein in 2018 during an investigation

targeting the Irish Mob Gang (IMG), an Oklahoma prison gang that was trafficking drugs across

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the state of Oklahoma and beyond. During the investigation, which utilized Title III wiretaps,
law enforcement intercepted Oscar and identified him as one of the IMG’s principal sources of
supply of methamphetamine (“meth”). These IMG members and their associates were
ultimately indicted and convicted. See United States v. Velasquez, CR-18-260-SLP. Next,
from roughly 2019 to 2021, law enforcement began targeting Oscar’s distribution network.
During that portion of the investigation (“Phase 1”) investigators uncovered a massive meth
distribution network led by Oscar.

6. Phase 1 established that Oscar, who was residing in San Luis Potosi, Mexico,
relied on trusted family members and confidants in Oklahoma to conduct the day-to-day
operations of the DTO. Those individuals in Oklahoma distributed thousands of pounds of
meth to customers of the DTO and collected millions of dollars in drug proceeds—all at Oscar’s
direction. The investigation also revealed that Oscar had expanded his customer base: in
addition to the IMG, Oscar was supplying two other prolific, drug trafficking prison gangs that
had street components, specifically the Universal Aryan Brotherhood (UAB) and the Surefios.

7. Further, aided by family members in Oklahoma, Oscar was conducting a large-
scale money laundering operation to transfer drug proceeds to Mexico. Those family members
included Oscar’s sister Domitila Martinez (Domitila), her husband Armando Martinez
(Armando), and their daughter (and Oscar’s niece) Jocelyn Martinez. As part of the money
laundering operation, these family members would use money remitter services, such as.
MoneyGram, Western Union, and Maxi, to wire drug proceeds to other family members in
Mexico, who accepted these proceeds on behalf of Oscar... The investigation also established,

through surveillance, interviews with cooperating defendants, and money seizures, that the

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DTO members in Oklahoma City were also sending bulk drug proceeds to Mexico via vehicle.

8. As a result of Phase 1 of the investigation, federal charges were filed in the
Western District of Oklahoma against more than forty persons, including Oscar, Armando,
Domitila, and Jocelyn. See United States v. Hernandez, CR-21-76-SLP. In addition, law
enforcement executed over a dozen search warrants, including at 1922 W Park Place,
Oklahoma City, Oklahoma (Armando’s and Domitila’s residence) and 1834 NW 16% Street,
Oklahoma City, Oklahoma (Jocelyn’s residence). Law enforcement also made significant
drug and money seizures, including over.one thousand pounds of methamphetamine and more
than $1 million in U.S. currency. At the time, this coordinated effort significantly disrupted
Oscar’s operation. It was not until the fall of 2022, however—with the help of a newly
developed confidential human source (CS1)'—that law enforcement launched the second phase
of the investigation into the DTO described herein.

9. Since phase two of the investigation launched, law enforcement has identified

the same DTO, albeit with some new players, continuing to function using virtually the same

1 CS1 was arrested by law enforcement for drug related crimes. CS1 thereafter
agreed to assist law enforcement and began providing information relating to this
investigation in the fall of 2022. Prior to this last arrest, CS1 had been convicted of drug
related crimes in 1998 (manufacturing), 2007 (trafficking), and 2021 (possession). CS1

furnished information to law enforcement in hopes of receiving consideration for his/her .

most recent pending charges. CS1 has also received $1,000 in monetary compensation to
date for his/her cooperation. The information provided by CS1 has been corroborated
through other investigative techniques, including physical surveillance, consensually
recorded conversations, and telephone analysis. Information provided by CS1 has been
reliable and I am unaware of any knowingly false information furnished by CS1.
Information attributed to CS1 herein, unless otherwise noted, was obtained by CS1 through
his/her personal observations or conversations with targets of this investigation and their
associates.

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modus operandi and money laundering methods.

10. In the fall of 2022, CS1 provided information to law enforcement regarding the
distribution component of the DTO in Oklahoma City. CS1 identified an individual named
“Pichi” —which law enforcement now knows is Ray Lara (Lara}—that was the primary
distributor for the DTO. CS1 also indicated Lara worked at the direction of “Chibalo”—which
law enforcement independently verified as Oscar, in part based on the information CS1
provided regarding Oscar’s money laundering operation. Specifically, CS1 stated Oscar had
two individuals collecting drug proceeds for him via Cash App. CS1 provided these persons’
Cash Tags? as “$CashJuanjo” and “$JessHdz001”.

11. With that information in hand, law enforcement requested records from Block
Inc.—Cash App’s parent company—trelated to the above listed accounts and found that they
belonged to Juan Hernandez Flores (JUAN) (Oscar’s brother) and Jessica Martinez (Jessica)
(Oscar’s niece), respectively. In total, law enforcement obtained records of Cash App
transactions for JUAN and Jessica ending in March 2024 and beginning with the account’s
inception, which was 2020 for JUAN and 2015 for Jessica. After analyzing these records in
detail, law enforcement concluded that JUAN and Jessica were both collecting drug proceeds
from various individuals with strong ties to either the IMG, UAB, or the Surefios.

12. For example, on March 16, 2023, Cash App records show that JUAN received
$800 from a Cash App account linked to Jessica Grimes. Jessica Grimes was arrested in

December 2022 with approximately one kilogram of meth. Information received from the

2 I know based on my training and experience that a person’s Cash Tag operates like
a username.

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Bureau of Prisons indicated this kilogram of meth actually belonged to James Burger—an Irish
Mob member convicted of drug charges in United States v. Velasquez, CR-18-260-SLP. I
believe, based on my training and experience with this particular investigation, that the only
plausible reason for Grimes to be sending JUAN $800 is that this transaction was in fact Burger
making a payment for drugs to Oscar.

13. Another such example took place on April 22, 2023. On this date, JUAN
received $1,000 from a Cash App account linked to Brandy Johnson. Johnson was identified
by law enforcement as an Irish Mob associate during the FBI’s 2016 investigation. Cash App
records show that Johnson included “thanksChav” in the transaction’s subject line, which I
believe, based on my training and experience, is a reference to Oscar’s moniker—“Chayalin”
or “Chavalan.”* I thus. believe, based on my training and experience with this particular
investigation, that the only plausible reason Johnson sent JUAN $1,000 is that this transaction
was in fact a payment for drugs to Oscar.

14. These drug payments to JESSICA appear to have begun after March 2021—
which coincides with when Armando, Domitila, and Jocelyn were all arrested for their roles in
Oscar’s DTO. This indicated to law enforcement that JUAN and Jessica, tasked with taking
over Oscar’s money laundering operation, had stepped into the roles previously held by
Armando, Domitila, and Jocelyn. Based on Cash App records spanning from September 2022

to March 2024, as well as law enforcement’s knowledge of the sender, law enforcement

3 For instance, Tomas Garcia, one of Oscar’s distributors in Oklahoma, knew Oscar
by this moniker.

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believes JUAN has collected approximately $41,514 in drug proceeds via Cash App.* Further,
as previously described, law enforcement previously identified Oscar’s family members
accepting bulk drug proceeds and also made significant money seizures. Based on my training,
experience, and knowledge of the investigation, I believe that Oscar likely introduced Cash
App, and possibly other mobile payment services, as a money laundering vehicle to limit law
enforcement’s ability to identify his family members receiving drug proceeds on his behalf.
15. Finally, it also appears that JUAN, in addition to receiving drug proceeds via
Cash App, has sent some of these proceeds to Oscar in Mexico via international wire: law
enforcement has examined records associated with the Bank of America account linked to
JUAN?’s Cash App, as well as transaction records from several international money remitter
businesses. Specifically, between September 2022 and March 2024, law enforcement believes
JUAN sent approximately $21,160.40 in drug proceeds via money remitter to Oscar in Mexico,
_ which I believe was to both conceal the nature and origin of the proceeds and promote drug
trafficking. Just as with the payments from Grimes and Johnson described above, law
enforcement first identified payments to JUAN from senders with ties to one of the many prison
gangs that Oscar’s DTO has sourced during the past several years. Law enforcement then
consulted additional records from JUAN’s Cash App, his Bank of America account, and

intemmational wire services in order to ascertain whether JUAN subsequently sent those drug

4 To be clear, I believe that JUAN was likely receiving more drug proceeds than this,
given the size of Oscar’s operation. Importantly, the amount of proceeds collected via
Cash App does not account for payments received via another mobile payment service and
naturally does not account for any receipts of bulk currency.

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proceeds via international wire to one of Oscar’s family members or associates in Mexico.°

16. The above-described transactions, among others, were the basis for an
indictment returned by the Grand Jury in the Western District of Oklahoma on May 21, 2024,
charging JUAN and Jessica with a money laundering conspiracy, in violation of 18 U.S.C. §
1956(h), and other substantive money laundering offenses.

17. | Law enforcement has identified the Subject Property as JUAN’s residence.
The address listed on JUAN’s driver’s license information is the Subject Property. Law
enforcement also identified the Subject Property as JUAN’s primary residence during Phase
1 of the investigation in 2020 and 2021. Further, based on footage from the surveillance
camera that has been fixated on the Subject Property since about Apnil 26, 2024, it appears
JUAN continues to live at the Subject Property.

18. Based on my training and experience, I know that the primary residence of a
money launder is the most common place to find evidence of crimes. I believe this for many
reasons. First, I know that a money launder’s primary residence is the most likely place to find _
a launderer’s cellphone, sssuming it is not on the launderer’s person. I believe that JUAN’s
cell phone will undoubtedly contain evidence of his crimes given that Oscar’s customers are
using mobile payment applications such as Cash App to pay JUAN. I also know that

cellphones often contain mobile banking applications which contain information related to

5 Further, based on my training, experience, and knowledge of the investigation, I
believe these wire transfers were sent to family members of Oscar’s, rather than Oscar, to
conceal the fact they were drug proceeds. Given that Oscar is no doubt aware he has been
twice indicted in the Western District of Oklahoma, he likely recognizes that transfers

listing him as the recipient would raise law enforcement’s suspicions.

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transactions involving the person’s bank account. Here, records obtained by law enforcement
establish that JUAN has linked his Bank of America account and Cash App account, further
leading me to believe that his cellphone will contain evidence of his crimes in the form of
information pertaining to credits and debits for the account. Ialso believe based on my training
and experience that law enforcement will likely recover other evidence at JUAN’s primary
residence, such as receipts for transactions, banking statements, contact information for co-
conspirators, notes/ledgers, dominion and control items, and bulk cash. Lastly, I believe, based
on my training and experience, that some of the above-described evidence may be physical or
digital in nature, i.e., found on electronic devices such as cell phones and computers. In short,
the investigation described herein leads me to believe that the Subject Property will contain
evidence of the DTO’s crimes, specifically evidence of violations of 18 U.S.C. § 1956(h).
HOUR OF EXECUTION

19. Your affiant is seeking authorization to execute the search warrant between the
hours of 5 a.m. and 10 p.m., rather than during the standard window of 6 a.m. to 10 p.m. Law
enforcement plans to execute the search warrant in the early moming hours in conjunction with
the arrest warrant that has been issued for JUAN. Law enforcement is seeking authorization
to execute the search warrant as early as 5:00 a.m. because law enforcement has routinely
observed JUAN leaving the Subject Property in his vehicle between the hours of 5:00 a.m.
and 6:00 a.m. Law enforcement is seeking this authorization partly due to concerns for officer
safety; in particular, law enforcement would prefer to arrest JUAN as he is leaving the Subject
Property so as to avoid any pursuit. Your affiant does not believe that executing as early as

5:00 a.m. would pose more risk to officer safety, as JUAN appears to live by himself and

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routinely departs the Subject Property prior to 6:00 a.m.

COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

20. As described above and in Attachment B, this application seeks permission to
search for records that might be found on the Subject Property, in whatever form they are
found. One form in which the records might be found is data stored on a computer’s hard drive
or other storage media. Thus, the warrant applied for would authorize the seizure of electronic
storage media or, potentially, the copying of electronically stored information, all under Rule
41(€)(2)(B), that law enforcement reasonably believes belongs to and/or has been used by
JUAN.

21. Probable cause. I submit that if a computer or storage medium is found on the
Subject Property and law enforcement has reason to believe that it belongs to and/or has been
used by JUAN , there is probable cause to believe those records will be stored on that computer
or storage medium, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the Intemet. Electronic
‘files downloaded to a storage medium can be stored for years at little or no cost.
Even when files have been deleted, they can be recovered months or years later using
- forensic tools. This is so because when a person “deletes” a file on a computer, the
data contained in the file does not actually disappear; rather, that data remains on the
storage medium until it is overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

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slack space—that is, in space on the storage medium that is not currently being
used by an active file—for long periods of time before they are overwritten. In

addition, a computer’s operating system may also keep a record of deleted data

in a “swap” or “recovery” file.

c. Wholly apart from user-generated files, computer storage media—in particular,
computers’ intemal hard drives—contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system
configurations, artifacts from operating system or application operation, file
system data structures, and virtual memory “swap” or paging files. Computer
users typically do not erase or delete this evidence, because special software is

typically required for that task. However, it is technically possible to delete this .

information.

d. Similarly, files that have been viewed via the Intemet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only computer files that might serve as direct evidence of the crimes
described on the warrant, but also for forensic electronic evidence that establishes how
computers were used, the purpose of their use, who used them, and when. There is probable
cause to believe that this forensic electronic evidence will be on any storage medium in the

Subject Property because:

a. Data on the storage medium can provide evidence of a file that was once on the

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storage medium but has since been deleted or edited, or of a deleted portion of a

file (such as a paragraph that has been deleted from a word processing file).

Virtual memory paging systems can leave traces of information on the storage

medium that show what tasks and processes were recently active.

browsers, e-mail programs, and chat programs store configuration information

on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the

' attachment of peripherals, the attachment of USB flash storage devices or other

external storage media, and the times the computer was in use. Computer file

systems can record information about the dates files were created and the

sequence in which they were created, although this information can later be

falsified.

b. As explained herein, information stored within a computer and other electronic

storage media may provide crucial evidence of the “who, what, why, when,

where, and how” of the criminal conduct under investigation, thus enabling the

United States to establish and prove each element or alternatively, to exclude the

innocent from further suspicion.’ In my training and experience, information

stored within a computer or storage media can indicate who has used or

controlled the computer or storage media. Additionally, some information

stored within a computer or electronic storage media may provide crucial

evidence relating to the physical location of other evidence and the suspect. For

example, images stored on a computer may both show a particular location and

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have geolocation information incorporated into its file data. Such file data
typically also contains information indicating when the file or image was created.
The existence of such image files, along with external device connection logs,
may also indicate the presence of additional electronic storage media (e.g., a
digital camera or cellular phone with an incorporated camera). The geographic
and timeline information described herein may either inculpate or exculpate the
computer user. Last, information stored within a computer may provide
relevant insight into the computer user’s state of mind as it relates to the offense
under investigation. For example, information within the computer may
indicate the owner’s motive and intent to commit a crime (e.g., internet searches
indicating criminal planning), or consciousness of guilt (e.g., running a “wiping”

program to destroy evidence on the computer or password protecting/encrypting

such evidence in an effort to conceal it from law enforcement).

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about
how computers were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an
accurate conclusion is a dynamic process. While it is possible to specify in
advance the records to be sought, computer evidence is not always data that can
be merely reviewed by a review team and passed along to investigators.

Whether data stored on a computer is evidence may depend on other information

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23.

stored on the computer and the application of knowledge about how a computer
behaves. Therefore, contextual information necessary to understand other
evidence also falls within the scope of the warrant.

Necessity of seizing or copying entire computers or storage media. In most

cases, a thorough search of a premises for information that might be stored on storage media

often requires the seizure of the physical storage media and later off-site review consistent with

the warrant. In lieu of removing storage media from the premises, it is sometimes possible to

make an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:

a. The time required for an examination. As noted above, not all evidence takes

the form of documents and files that can be easily viewed on site. Analyzing
evidence of how a computer has been used, what it bas been used for, and
who has used it requires considerable time, and taking that much time on
premises could be unreasonable. As explained above, because the warrant
calls for forensic electronic evidence, it is exceedingly likely that it will be
necessary to thoroughly examine storage media to obtain evidence. Storage
media can store a large volume of information. Reviewing that information
for things described in the warrant can take weeks or months, depending on

the volume of data stored, and would be impractical-and invasive to attempt

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on-site.

b. Technical requirements. Computers can be configured in several different
ways, featuring a variety of different operating systems, application software,
and configurations. Therefore, searching them sometimes requires tools or
knowledge that might not be present on the search site. The vast array of
computer hardware and software available makes it difficult to know before
a search what tools or knowledge will be required to analyze the system and
its data on the Premises. However, taking the storage media off-site and

reviewing it in a controlled environment will allow its examination with the

proper tools and knowledge.

c. Variety of forms of electronic media. Records sought under this warrant

could be stored in a variety of storage media formats that may require off-

site reviewing with specialized forensic tools.

24. Nature of examination. Based on the foregoing, and consistent with Rule 41(6)(2)(B),
the warrant I am applying for would permit seizing, imaging, or otherwise copying storage
media that reasonably appear to contain some or all of the evidence described in the warrant
and would authorize a later review of the media or information consistent with the warrant.
The later review may require techniques, including but not limited to computer-assisted scans
of the entire medium, that might expose many parts ofa hard drive to human inspection in order
to determine whether it is evidence described by the warrant.
25. As with any search warrant, I expect that this warrant will be executed

reasonably. Reasonable execution will likely involve conducting an investigation on the scene

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of what computers, or storage media, must be seized or copied, and what computers or storage
media need not be seized or copied. Where appropriate, officers will copy data, rather than
physically seize computers, to reduce the extent of disruption. If seizure must take place, after
inspecting the computers, it is determined that some or all of this equipment is no longer
necessary to retrieve and preserve the evidence, the government will return it.

INFORMATION PERTAINING TO UNLOCKING ELECTRONIC
DEVICES WITH BIOMETRIC FEATURES

26. The warrant I am applying for would permit law enforcement to obtain from
JUAN the display of physical biometric characteristics (such as fingerprint, thumbprint, or
facial characteristics) in order to unlock devices subject to search and seizure pursuant to this
warrant. I seek this authority based on the following.

27. I know from my training and experience, as well as from information found in
publicly available materials published by device manufacturers, that many electronic devices,
particularly newer mobile devices and laptops, offer their users the ability to unlock the device
through biometric features in lieu of a numeric or alphanumeric passcode or password. These
biometric features include fingerprint scanners and facial recognition features. Some devices
offer a combination of these biometric features, and the user of such devices can select which
features they would like to utilize.

28. Ifa device is equipped with a fingerprint scanner, a user may enable the ability
to unlock the device through his or her fingerprints. if a device is equipped with a facial
recognition feature, a user may enable the ability to unlock the device through his or her face.

The device can then be unlocked if the camera detects a face with characteristics that match

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those of the registered face.

29. In my training and experience, users of electronic devices often enable the
aforementioned biometric features because they are considered tobe a more convenient way to
unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover,
in some instances, biometric features are considered to be a more secure way to protect a
device’s contents. This is particularly true when the users of a device are engaged in criminal
activities and thus have a heightened concer about securing the contents of a device. .

30. As discussed in this affidavit, based on my training and experience J believe that
one or more digital devices will be found during the search. The passcode or password that
would unlock the device(s) subject to search under this warrant is not known to law
enforcement. Thus, law enforcement personnel may not otherwise be able to.access the data
contained within the device(s), making the use of biometric features necessary to the execution
of the search authorized by this warrant.

31. also know from my training and experience, as well as from information found
in publicly available materials including those published by device manufacturers, that
biometric features will not unlock a device in some circumstances even if such features are
enabled. This can occur when a device has been restarted, inactive, or has not been unlocked
for a certain period of time. Thus, in the event law enforcement personnel encounter a locked
device equipped with biometric features, the opportunity to unlock the device through a
biometric feature may exist for only a short time.

32.  Inmy training and experience, the person who is in possession of a device or has

the device among his or her belongings at the time the device is found is likely a user of the

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device. However, in my training and experience, that person may not be the only user of the
device whose physical characteristics are among those that will unlock the device via biometric
features, and it is also possible that the person in whose possession the device is found is not
actually a user of that device at all. Furthermore, in my training and experience, I know that in
some cases it may not be possible to know with certainty who is the user ofa given device, such
as if the device is found in a common area of a premises without any identifying information
on the exterior of the device. Thus, it will likely be necessary for law enforcement to have the
ability to require JUAN to unlock the device using biometric features in the same manner as
discussed above.

33. Due to the foregoing, if law enforcement personnel encounter a device that is
subject to search and seizure pursuant to this warrant and may be unlocked using one of the
aforementioned biometric features, the warrant I am applying for would permit law
enforcement personnel to (1) press or swipe JUAN’s fingers (including thumbs) to the
fingerprint scanner of any device law enforcement reasonably believes him to be a user of and
(2) hold the device in front of JUAN’s face and activate the facial recognition feature, for the
purpose of attempting to unlock the device in order to search its contents as authorized by this

warrant.

[REST OF PAGE INTENTIONALLY LEFT BLANK]

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CONCLUSION
34. Based on the foregoing, I respectfully submit that there is probable cause to
believe that evidence relating to violations of 18 US.C. § 1956(h) will be found at the Subject
Property. I therefore respectfully request issuance of search warrants for the Subject
Property (as set forth in Attachment A) based on the above-mentioned facts.
FURTHER, YOUR AFFIANT SAYETH NOT.
iene ADAMS

Special Agent
Federal Bureau of Investigation

4) ST
Swom to and subscribed before me this y of May, 2024.

United States Magistrate‘Tudge

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Attachment A

ADDRESS TO BE SEARCHED
(The Subject Property)

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Description:

The Subject Property is located at 1900 NW 11" Street, Oklahoma City, Oklahoma
73106, and is a single-family residence in Oklahoma County, Oklahoma. The Subject
Property sits on the southwest corner of NW 11" Street and N Kentucky Avenue. The
Subject Property is a blue, one-story residence, with white trim, an orange front door, and
a brown shingled roof. The front door faces north and is sheltered by a covered porch. The
front patio has a sidewalk leading out to a black gate. The north and east side of the front
yard of the Subject Property is enclosed via a brown, wooden, picket fence. The back
yard of the Subject Property is enclosed by a wooden privacy fence. There is a driveway
on the east side of the Subject Property that provides access to the backyard. The driveway

leads up to a wooden gate with the numbers “1900” affixed to it.
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Attachment B

ITEMS TO BE SEIZED |

The items to be seized are evidence, contraband, fruits, or instrumentalities of violations of
18 U.S.C. § 1956(h) (Money Laundering Conspiracy):

1.

Documents, records, or materials related to the distribution of illegal drugs,
including, but not limited to: ledgers, address books, telephone books, telephone
bills, telephone records, rent receipts, rental car agreements, mini-storage receipts,
cellular telephone agreements, pager rental agreements, bills and receipts related to
cellular telephones and pagers, and any property and/or U.S. currency being —
proceeds of or related to the distribution of illegal narcotics. Also ledgers containing
quantity of narcotics possessed, ledgers of money owed to the suspects for narcotics
they have provided to co-conspirators, ledgers of money owed by the suspects to
their suppliers, transportation and distribution instructions for the narcotics being

sold, and other types of documentation regarding the sale of narcotics.

Financial documents evidencing the illegal distribution of controlled substances,
including, but not limited to: bank statements, bank deposit slips, canceled checks,
money orders, money order receipts, wire transfer receipts, stored value cards,
handwritten notes depicting monies owed for illegal controlled substances,
documents showing purported income, and any other evidence showing monetary

records of the illegal distribution of controlled substances.

Documents, records, or materials related to the laundering of money, including, but

not limited to: wire transfer receipts, bank deposit slips, bank withdraw slips, money

_ order receipts, records detailing the purchase of property, items which show control

of real property placed in nominee names such as utility payment records, property
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tax payment records, key to real property, receipts from payment of insurance

premiums paid on residences/vehicle.

The fruits and proceeds of the illegal distribution of controlled substances,
including, but not limited to: large amounts of currency, financial instruments and
other items of value showing the spending of large sums of money made from
engaging in the illegal distribution of controlled substances, or other illegal

activities.

Any digital device used to facilitate the above-listed violations or containing
evidence falling within the scope of the foregoing categories of items to be seized,

and forensic copies thereof.

a. With respect to any digital device used to facilitate the above-listed violations
or containing evidence falling within the scope of the foregoing categories

of items to be seized:

i. evidence of who used, owned, or controlled the device at the time the
things described in this warrant were created, edited, or deleted, such
as logs, registry entries, configuration files, saved usernames and
passwords, documents, browsing history, user profiles, e-mail, e-mail
contacts, chat and instant messaging logs, photographs, and

correspondence;

ii. evidence of the presence or absence of software that would allow
others to control the device, such as viruses, Trojan horses, and other
forms of malicious software, as well as evidence of the presence or

absence of security software designed to detect malicious software;
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iil, evidence of the attachment of other devices;

IV. evidence of counter-forensic programs (and associated data) that are

designed to eliminate data from the device;
Vv. evidence of the times the device was used;

Vi. passwords, encryption keys, and other access devices that may be

necessary to access the device;

Vil. applications, utility programs, compilers, interpreters, or other
software, as well as documentation and manuals, that may be
necessary to access the device or to conduct a forensic examination of

it;

Vill. records of or information about Internet Protocol addresses used by

the device;

ix. records of or information about the device’s Internet activity,
including firewall logs, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of user-typed web

addresses.

b. As used herein, the terms “records,” “documents,” “programs,”
“applications,” and “materials” include records, documents, programs,

applications, and materials created, modified, or stored in any form,
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including in digital form on any digital device and any forensic copies

thereof.

C. As used herein, the term “digital device” includes any electronic system or

device capable of storing or processing data in digital form, including central

processing units; desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as telephone paging

devices, beepers, cellphones, mobile telephones, and smart phones; digital

cameras; peripheral input/output devices, such as keyboards, printers,

scanners, plotters, monitors, and drives intended for removable media;

related communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy disks, memory

cards, optical disks, and magnetic tapes used to store digital data (excluding

analog tapes such as VHS); and security devices.

Items which tend to show dominion and control of the property searched, including,

but not limited to, utility bills, telephone bills, correspondence, rental agreements,

property tax payment records, receipt from the payment of insurance premiums on

the residence, and other identification documents.

During the execution of the search of the Subject Property described in Attachment

A, law enforcement personnel are authorized to (1) press or swipe the fingers

(including thumbs) of Juan Hernandez Flores to the fingerprint scanner of any

device law enforcement reasonably believes him to be a user of and (2) hold a device

found at the premises in front of Juan Hernandez Flores’s face and activate the facial

recognition feature, for the purpose of attempting to unlock the device in order to”

search the contents as authorized by this warrant.
